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Information to identify the case:
Debtor
                  It'Sugar FL I LLC                                                 EIN 20−4897206
                  Name


United States Bankruptcy Court Southern District of Florida
                                                                                    Date case filed for chapter 11 9/22/20
Case number: 20−20259−RAM


Notice of Chapter 11 Bankruptcy Case
For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. This notice has important
information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from
discharge may be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See box
8 below for more information.)

You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR
FAILURE OF THE DEBTOR TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED
SCHEDULES, STATEMENTS OR LISTS.


1. Debtor's Full Name                 It'Sugar FL I LLC
2. All Other Names Used               dba It'Sugar
   in the Last 8 Years
3. Address                            19575 Biscayne Blvd
                                      Ste 115
                                      Aventura, FL 33180
4. Debtor's Attorney                  Michael S Budwick Esq                                   Contact phone (305) 358−6363
    (or Pro Se Debtor)                200 S Biscayne Blvd #3200
                                      Miami, FL 33131
    Name and address
5. Bankruptcy Clerk's                 US Bankruptcy Court                                     Hours open 8:30 a.m. − 4:00 p.m.
   Divisional Office Where            301 North Miami Avenue, Room 150                        Contact Phone (305) 714−1800
   Assigned Judge is                  Miami, FL 33128
   Chambered
    Documents filed conventionally in paper may be filed at any bankruptcy clerk's             Note: Pursuant to Administrative Order
    office location. Documents may be viewed in electronic format via CM/ECF at                2020−07, until further notice the clerk's
    any clerk's office public terminal (at no charge for viewing) or via PACER on              office is CLOSED to the public for
    the internet accessible at pacer.uscourts.gov (charges will apply). Case filing            in−person filings.
    and unexpired deadline dates can be obtained by calling the Voice Case
    Information System toll−free at (866) 222−8029. As mandated by the
    Department of Homeland Security, ALL visitors (except minors accompanied                   Clerk of Court: Joseph Falzone
    by an adult) to any federal building or courthouse, must present a current,                Dated: 9/23/20
    valid, government issued photo identification (e.g. drivers' license, state
    identification card, passport, or immigration card.)

6. *MEETING OF CREDITORS*             October 23, 2020 at 12:00 PM                                 *MEETING WILL BE HELD BY
   The debtor's representative                                                                           TELEPHONE*
   must attend the meeting to         The meeting may be continued or adjourned
   be questioned under oath.          to a later date. If so, the date will be on the court   Trustee: Office of the US Trustee
   Creditors may attend, but          docket.                                                 Call in number: 866−915−4419
   are not required to do so.
                                                                                              Participant Code: 6071331
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Debtor It'Sugar FL I LLC                                                                               Case number 20−20259−RAM

7. Proof of Claim Deadline           Deadline for all creditors to file a proof of claim               Filing deadline: 12/1/20
                                     (except governmental units):
                                     Deadline for governmental units to file a proof                   Filing deadline: 3/22/21
                                     of claim:

   When Filing Proofs of
   Claim: Claims may be              Deadlines for Filing Proof of Claim:
   delivered or mailed to the        A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
   clerk's office. Creditors with    may be obtained at www.flsb.uscourts.gov or any bankruptcy clerk's office.
   internet access have the
   option to use the electronic      Your claim will be allowed in the amount scheduled unless:
   claims filing program on the
   court website at                          • your claim is designated as disputed, contingent, or unliquidated;
   www.flsb.uscourts.gov to                  • you file a proof of claim in a different amount; or
   electronically file a proof of            • you receive another notice.
   claim.
                                     If your claim is not scheduled or if your claim is designated as disputed, contingent, or
                                     unliquidated, you must file a proof of claim or you might not be paid on your claim and you
                                     might be unable to vote on a plan. You may file a proof of claim even if your claim is
                                     scheduled. You may review the schedules at the bankruptcy clerk's officei or online at
                                     pacer.uscourts.gov

                                     Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                     claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                     with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                     of claim may surrender important nonmonetary rights, including the right to a jury trial. The
                                     deadline for filing objections to claims will be established pursuant to Local Rule
                                     3007−1(B)(1).
                                     Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of
                                     claim in this notice apply to all creditors. If you are a creditor receiving a notice mailed to a
                                     foreign address, you may file a motion asking the court to extend the deadline to file a proof
                                     of claim. See also box 9 below.
8. Exception to Discharge          If § 523 applies to your claim and you seek to have it excepted from discharge, you must start
   Deadline                        a judicial proceeding by filing a complaint by the deadline stated below.
    The bankruptcy clerk's office
   must receive a complaint and Deadline for Filing the Complaint: 12/22/2020
   any required filing fee by the
   following deadline. Writing a
   letter to the court or judge is
   not sufficient.

9. Creditors with a Foreign          Consult an attorney familiar with United States bankruptcy law if you have any questions
   Address                           about your rights in this case.

10. Filing a Chapter 11              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not
    Bankruptcy Case                  effective unless the court confirms it. You may receive a copy of the plan and a disclosure
                                     statement telling you about the plan, and you may have the opportunity to vote on the plan.
                                     You will receive notice of the date of the confirmation hearing, and you may object to
                                     confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the
                                     debtor will remain in possession of the property and may continue to operate its business.
11. Option to Receive Notices        1) EBN program open to all parties. Register at the BNC website
    Served by the Clerk by           bankruptcynotices.uscourts.gov, OR 2) DeBN program open to debtors only. Register by
    Email Instead of by U.S.         filing with the Clerk of Court, Local Form "Debtor's Request to Receive Electronically Under
    Mail                             DeBN Program". There is no charge for either option. See also Local Rule 9036−1(B) and
                                     (C).
12. Translating Services             Language interpretation of the meeting of creditors will be provided to the debtor at no cost,
                                     upon request to the trustee, through a telephone interpreter service. Persons with
                                     communications disabilities should contact the U.S. Trustee's office to arrange for translating
                                     services at the meeting of creditors.
13. Discharge of Debts               Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all
                                     or part of your debt. See 11 U.S.C. §1141(d). A discharge means that creditors may never
                                     try to collect the debt from the debtor except as provided in the plan. If you want to have a
                                     particular debt owed to you excepted from the discharge and § 523 applies to your claim,
                                     you must start a judicial proceeding by filing a complaint and paying the filing fee in the
                                     bankruptcy clerk's office by the deadline in box 8.

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